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                       UNITED STATES DISTRICT COURT

                          DISTRICT OF CONNECTICUT




UNITED STATES OF AMERICA

      VS.                                      CRIMINAL NO. 3:06 cr 261 (PCD)

LUIS LUCIANO


                       AMENDED ORDER OF DISMISSAL

      On January 17, 2007, the defendant pled guilty to Count 11 of the Indictment in

the above-captioned case. On April 25, 2007 a Judgment entered as to the defendant.

      IT IS HEREBY ORDERED that Count 2 of the original Indictment in the above-

captioned case be dismissed as to the defendant.

      SO ORDERED.

      Dated at New Haven, Connecticut, this 3rd day of March, 2009.




                                 /s/
                                        Peter C. Dorsey, Senior
                                        U.S. District Judge
